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UNITED STATEs DIsTRIcT CoURT
DIsTRIcT oF RHoDE ISLAND

MAYRA F. PENA,

PLAINTIFF

V. : C.A. NO. 15-CV-00179-S-LDA

HONEYWELL INTERNATIONAL INC.,

DEFENI)ANT.

PLAINTIFF MAYRA PENA’s STATEMENT oF DIsPUTED FAcTs

Pursuant to Rule 56 of the F ederal Rules of Civil Procedure and LR cv 56 of the Local Rules
of the United States District Court for the District of Rhode lsland, Plaintiff Mayra Pena hereby sets
forth this Statement of Disputed Facts (“PSDF”) in connection With her Opposition to Defendant
Honeywell lnternan'onal lnc.’s l\/lotion for Summary judgment Pena states that the following facts
are disputed:

l. Honeywell’s Cranston facility is comprised of several production / assembly areas, including
the respiratory department, molding department, logo department, quicl<loc/cedars
department, and the SCBA area. Transcript Deposition of Conor Ryan on l\lovember 30,
2016 (“Ryan Dep.”), 32:lO-15, attached hereto as EXhibit A' Transcript Deposition of

l\/layra `Pena on November 3, 2016 (“Pena Dep.”), l7:l4»l7, 23:6-25, attached hereto as
Exhibit B.

 

Plaintiff’s Response: Undisputed.

2. ln the molding room, Honeywell manufactured finished goods and Work in process for
assembly (Ryan Dep. 24:10-24). Works in process are products in the process of
manufacture that have not yet reached the finished good state. (Ryan Dep. 2524-l l).

Plaintiff’s Response: Undisputed.

3. The injection molding department Was not the loudest department in Honeywell’s
Cranston facility. (Ryan Dep. 37:16-38:4).

Plaintifl”s Response: Ob]'ection. This is statement of an opinion, not a statement
of a fact. Answering further and without waving the objection, this fact is

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Disputed. Ryan testified that “the injection molding area didn’t even meet the
requirement for use of hearing protection via Honeywell or via OSHA” (Ryan
Dep. at 38:1-3), while Pena testified that Honeywell required employees to wear
earplugs for their own safety in the molding area (Pena Dep. at 21:21-23).

The molding area did not meet the requirements for use of hearing protection pursuant
to Honeywell policy and Occupational Safety and Health Administration (“GSHA”)
regulations (Ryan Dep. 38:1~4).

Plaintifi’s Response: Disputed. Pena refers to her response to No. 3 for
clarification

The respiratory department was the loudest department in the Cranston facility (Pena
Dep. 2():13»20; Ryan Dep. 30:12-13; 37:16-38:4; 39:8~11).

Plaintift’s Response: Disputed. Pena testified at her deposition that the
HEPA/ respiratory department machines “weren’t really that loud.” (Pena Dep.
at 21:13-20).

Plaintiff frequently worked in the respiratory department (Pena Dep. 16:4-7; Ryan Dep.
30:12-13; 37:16-38:4; 39:8-11).

Plaintift’s Response: Undisputed.

In 2013, when Plaintiff worked at Honeywell, there were approximately twenty to twenty~
five employees working in the injection molding department (Ryan Dep. 31:8-14).

Plaintiff’s Response: Undisputed.

ln the molding department the machines run continuously and a new part comes out of the
machine every thirty seconds; in other departments, the operator controls when the
machines operate. (Ryan Dep. 50116-51:1).

Plaintiff’s Response: Undisputed.

The thirty»second cycle in the molding department does not create a hectic situation for
employees, but it would make it more noticeable to supervisors if an employee was not
keeping up with the pace. (Ryan Dep. 51:15-25; 53:11-20; 54:13~24).

Plaintift’s Response: Objection. This is statement of an opinion, not a statement of
a fact. Answering further and without waving the objection, this fact is Disputed.
Some Honeywell employees indicated that they prefer to work in areas other than the
Molding Room because they do not have to rush to keep up with the flow machines.
(Ryan Dep. at 49:16-24; Dyer Dep. at 35:3-5; Gouveia Dep. at 36220-37:25).

Some Honeywell employees indicated that they preferred to work in areas other than
the molding department because other areas allowed employees to work at their own
pace, whereas in the molding department employees had to keep up with the pace of

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the machines (Ryan Dep. 49:16-24; Dyer Dep. 35:3-5; Transcript Deposition of jose
Gouveia on December 3, 2016 (“Gouveia Dep.”), 36:20-37:25, attached hereto as
EXhibit C.

Plaintiff’s Response: Undisputed.

Employees also preferred to work in areas other than the molding department because the
machines were closer together in other departments and employees were able to more easily

socialize. (Ryan Dep. 53:21-54:7).

Plaintift’s Response: Undisputed.

No employee other than Plaintiff has refused to work in the molding department (Ryan
Dep. 48:18~49:24; Transcript Deposition of Kevin Dyer on December 12, 2016 (“Dyer
Dep.”), 47:19-48:6, attached hereto as Exhibit D; Gouveia Dep. 39:21-40:7).

Plaintiff’s Response: Undisputed.

ln 2012, Honeywell decided that all employees who worked in the production and assembly
areas should be cross-trained in all departments (Pena Dep. 24:23-25:4; Ryan Dep. 47:1-11;
99:25-100:12; Dyer Dep. 41:3~24).

Plaintiff’s Response: Undisputed.

lt was important to have cross-trained employees to meet the demands of Honeywell
customers (Ryan Dep. 87:2~12).

Plaintiff’s Response: Objection. This is statement of an opinion, not a statement of a
fact. Answering further and without waving the objection, this fact is Disputed.
Kevin Dyer testified that Honeywell needed all Associate Assemblers to be cross-
trained so they would be able to work in the Molding Room on an as needed basis to
account for unexpected exigencies such as a worker being out, vacations, or an
unexpected large order. (Dyer Dep. at 41:3-20).

lt was Honeywell’s business practice to move associate assemblers to departments where
customer demand was greatest and, as a result, an employees’ inability to work in any
particular area would burden the production process (Ryan Dep. 89:11-90:6; 91:14~18; Dyer
Dep. 41:3-24).

Plaintiff’s Response: Disputed. Pena refers to her Response to No. 14. Pena further
states that Dyer also testified that it was feasible was feasible for Honeywell to re-
assign the task of working in the Molding Room to other workers (Dyer Dep. at
58:5-16).

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lt was particularly important for employees to cycle into the molding department because
the molding department runs twenty-four hours per day and does not shut down for
employee lunch and other breaks. (Ryan Dep. 47:1-11; 92:8-18; Dyer Dep. 42:12-24).

Plaintiff’s Response: Undisputed.

To fill positions when employees took breaks, vacation time, or otherwise, employees
working in other areas would move to the molding department (Ryan Dep. 47:1-11; 92:8~18;
Dyer Dep. 42:12~24; Gouveia Dep, 27:22-28:19).

Plaintiff’s Response: Undisputed.

Honeywell trained all of its employees, including Plaintiff, in all assembly departments for
which training was required, including the molding department (Pena Dep, 23:20-25; 25:13-
17; 27:15-16; Ryan Dep. 99:25-100:12; Dyer Dep. 41:3-24).

Plaintifi’s Response: Undisputed.

Honeywell hired Plaintiff in or about 2008 as a machine operator and associate assembler in
its Cranston, Rhode lsland facility (Pena Dep, 16:1~19; Ryan Dep. 25:12-15),

Plaintiff’s Response: Undisputed.

Plaintiff was previously employed by North Safety Products starting in or about 2002, and
Honeywell hired Plaintiff when it took over the facility in or about 2008. (Pena Dep. 15:3~20;
16:1-7).

Plaintiff’s Response: Undisputed.

Plaintiff completed her training for the molding department in October 2012. (Pena Dep.
25:13-17; 27:15~16).

Plaintift’s Response: Undisputed.

Following her training, Honeywell asked Plaintiff to work in the molding department (Pena
Dep. 40:11-17).

Plaintiff’s Response: Undisputed.

Plaintiff working in the molding department was consistent with her position as an associate
assembler (Ryan Dep. 25:12-19).

Plaintiff’s Response: Disputed. Kevin Dyer testified that Honeywell needed all
Associate Assemblers to be cross-trained so they would be able to work in the
Molding room on an as needed basis to account for unexpected exigencies (such as a
worker being out, vacations, or an unexpected large order), rather than on a
consistent basis. (Dyer Dep. at 41:5-20). Furthermore, Pena was informed that she
only needed to be trained to work in the molding room and that she would not have

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to work there on a regular basis. (Pena Dep. at 24:11~13). Pena only worked in
Molding for 20% to 300/0 of her entire work week and did not work there at all over a
two week period from February 21, 2013 to March 7, 2013. (Pena Dep. 27:9-11; 40:9-
22; Pena Aff.)

()ver a month after Plaintiff’s training in the molding department she took medical leave
commencing on November 29, 2012. (Pena Dep. 27:17-28:8).

Plaintiff’s Response: Undisputed.

Plaintiff admits this medical leave was at least in part due to her depression because of the
season. (Pena Dep. 27:17-28:8).

Plaintiff’s Response: Undisputed.

Prior to her medical leave commencing on l\lovember 29, 2012, Plaintiff had previously
taken several other medical leaves of absence totaling 23 weeks, including from October 14,
2011 to l\lovember 21, 2011; from December 16, 2011 to February 13, 2012; and from lune
22, 2012 to August 6, 2012. <Pena Dep. 2615-27:4).

Plaintiff’s Response: Undisputed.

Given these previous medical leaves, Plaintiff had no remaining Family and l\/ledical Act
(“FMLA”) leave. (See Pena Dep. 26:5~27:10).

Plaintifi’s Response: Undisputed.

Plaintiff returned from medical leave on january 14, 2013.

Plaintifi’s Response: Undisputed.

Upon her return from medical leave, Plaintiff worked in the molding department for four
hours per day, two to three times per week. (Pena Dep. 2729-11; 40:9-22).

Plaintift’s Response: Undisputed.

Plainnff worked this schedule without incident for over a month and did not complain about
working in the molding department until late February 2013. (Pena Dep. 41:4- 7).

Plaintiff’s Response: Undisputed.

ln late February 2013, Plaintiff approached lose Gouveia (“l\/lr. Gouveia”), Senior Human
Resources Generalist at Honeywell, to report that one of the production leaders, l\/layra
Ferrnin (“l\/ls. Fermin”), asked her to go to the molding department (Pena Dep. 42:24-43:4;
Gouveia Dep. 9:13~19).

Plaintiff’s Response: Undisputed.

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Plaintiff claims that she told l\/lr. Gouveia that she did not want to work in that department
because “it was harmful to lherj emotionally.” (Pena Dep. 43:21~24).

Plaintiff’s Response: Undisputed.

On l\/larch 7 and l\/larch 8, 2013, Plaintiff met with l\/lr. Gouveia; Kevin Dyer (“l\/lr. Dyer”)7
Plaintiff s supervisor; and Conor Ryan (“l\/lr. Ryan”), the Health Safety and Environmental
Site Leader. (Pena Dep. 51:9~14; Ryan Dep. 15:13~17).

Plaintiff’s Response: Undisputed.

At the l\/larch 7, 2013 meeting, the Honeywell personnel requested a letter from Plaintiff’ s
doctor. (Pena Dep. 51:9-14).

Plaintiff’s Response: Undisputed.

The next day, on l\/larch 8, 2013, Plaintiff provided a letter from her physician, Dr. james
Greer, dated l\/larch 4, 2013. (Pena Dep. 50:15-19).

Plaintiff’s Response: Undisputed.

Plaintiff stated in her deposition that she had produced a letter prior to the letter she
produced on l\/larch 8, 2013; however, despite discovery requests directed at such
documentation, Plaintiff has not produced this alleged letter and her lawyer was also
unaware of such a letter. (Pena Dep. 49:3-50-17).

Plaintiff’s Response: Disputed. Pena was confused Pena only received three (3)
doctor’s letters from Dr. Greer dated: (1) March 4, 2013; (2) April Z, 2013, and (3)
April 29, 2013. (E_¥_. A-C; Pena Aff.).

Dr. Greer’s l\/larch 4, 2013 note stated: “Currently [Plaintiffj is reporting exacerbation of her
anxiety systems which are interfering with her ability to function She reports that these
specifically occur when she is being sent to the molding room as opposed to the more
typical duties to which she is accustomed.” (Pena Dep. 49:3- 7; Pena Dep., Exhibit D;
Gouveia Dep., Exhibit 2).

Plaintiff’s Response: Undisputed.

Mr. Ryan, as Health Safety and Environmental Site Leader, reviewed Dr. Greer’s l\/larch 4,

2013 note to determine what accommodations an employee requested and whether
HoneyweH could make such accommodations <Ryan Dep. 62:10-17; 64:22- 65:7; 85:16*20).

Plaintifi’s Response: Undisputed.

Dr. Greer’s l\/larch 4, 2013 note did not state that Plaintiff had been diagnosed with any
disability, but, rather, only mentioned that the Plaintiff was “reporting exacerbation of her
anxiety symptoms.” (l)ena Dep. 49:3-7; Pena Dep., Exhibit D; Ryan Dep. 72:4~73:5; 73:25-
74:8, and Ryan Dep., Exhibit 4).

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Plaintiff’s Response: Disputed. Dr. Greer’s March 4, 2013 note clearly states that
Pena was suffering from symptoms of anxiety, a disability within the meaning of the
law. 6wa A).

l\/lr. Ryan could not make any sense of the request for accommodation in Dr. Greer’s l\/larch
4, 2013, which provided: “l am requesting that you assist her in other placements than in this
setting. . .” (Ryan Dep. 77:20-78:2).

Plaintiff’s Response: Objection. This is statement of an opinion, not a statement of
a fact. Answering further and without waving the objection, this fact is Disputed.
The letter is clear and unambiguous, and it speaks for itself. (Ex. A).

Dr. Greer’s l\/larch 4, 2013 note did not explain how the molding department
“exacerbat[edj” Plaintiff’ s anxiety symptoms, but no other department had this effect (Ryan
Dep. 75:11-15; Ryan Dep., Exhibit 4; Dyer Dep. 62:21~63:3; Gouveia Dep. 49:5-10, 54:3-10,
57:6*16).

Plaintiff’s Response: Undisputed.

Based upon this litany of issues with Dr. Greer’s l\/larch 4, 2013 note, Honeywell was not
able to draw any conclusions about Plaintiff’s medical condition (Ryan Dep. 75:11-15).

Plaintiff’s Response: Disputed. Gouveia testified that after he read Dr. March 4, 2013
letter, he understood that Pena was suffering from anxiety, it was worsening when
she went to the molding room, and that the accommodation she was seeking was to
stay in HEPA. (Gouveia Dep. 57:17-22, 58:4-8, 59:9-13,59:9-25, 60:1-3). Dr. jennison
testified that after reading the March 4, 2013 letter, she concluded that Pena was
being treated for anxiety, which she knew to be a psychological disorder and a
disability within the meaning of the ADA. (jennison Dep. at 22:18-23, 2322-17, 24:2-
10).

The Honeywell personnel told Plamtiff that the l\/larch 4, 2013 note was not sufficient and

she would not be excused from working in the molding room at eleven o’clock as scheduled
(Pena Dep. 52:5-10).

Plaintiff’s Response: Undisputed.

ln response to the Honeywell personnel telling Plaintiff that the note was insufficient
Plaintiff told the Honeywell personnel that she was going to go home and called her
daughter to pick her up. (Pena Dep. 52:18-53:2).

Plaintif`f’s Response: Undisputed that Pena called her daughter to pick her up so she
could go home. Disputed as to the reason why she went home. Pena went home
after being told by Ryan and Gouveia informed that the only work they had was in
Molding, and if she could not do it then she could go home. (Ryan Dep. at 80:8~12;
Gouveia Dep. at 64:8-11, 17-20).

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Plaintiff never returned to work after this day. (Gouveia Dep. 64:9~20).

Plaintiff’s Resp_onse: Undisputed.

Unbeknownst to anyone at Honeywell, Plaintiff went to see Attorney Veronica Kot (“Ms.
Kot”) at Rhode lsland Legal Services within a week after her final day of work on March 8,
2013. (Pena Dep. 53:6»11).

Plaintiff’s Response: Disputed. During the March 8, 2013, meeting, Pena informed
Gouveia that she intended to speak to an attorney for assistance regarding the
accommodation request. (Ex_. V).

Ms. Kot instructed Plaintiff not to have any communication from anyone at Honeywell and
that l\/ls. Kot would be the one to talk to Honeywell, not her. (Pena Dep. 55:10-18).

Plaintiff’s Response: Undisputed.

Unaware that Plaintiff had retained counsel and of her attorney’s directive not to respond to
Honeywell, it continuously attempted to contact Plaintiff to clarify her condition to enable it
to provide a proper accommodation (l`ranscript Deposition of Elizabeth ]ennison, M.D. on
December 9, 2016 (“Jennison Dep.”), Exhibit 2, attached hereto as Exhibit E; Pena Dep.,
Exhibit H; Gouveia Dep. 87:8~25; Gouveia Dep., Exhibit 5; Affidavit of Attorney ]acqueline
Rolfs (“Rolfs Aff.”), Wl 2-4, attached hereto as Exhibit F).

Plaintiff’s Response: Undisputed.

lt was important for l-loneywell to understand the reasons underlying Plaintiff’ s anxiety
symptoms because the various areas within the l_loneywell facility contained many of the
same features as the molding departinent. (Dyer Dep. 53:18-20;Jennison Dep. 30:18-24;
31:7*21; 38:3-20; 39:13-16; 42:6*10).

Plaintiff’s Response: Disputed. Dr. Greer’s March 4, 2013 note clearly states that in
his medical opinion Pena “is completely capable of working in other settings” within

Honeywell. (§; A).

Mr. Gouveia sent Plaintiff a Reasonable Accommodation Request Form for her to complete
with Dr. Greer. (Pena Dep. 59:17~60:2; Pena Dep., Exhibit F; Gouveia Dep. 70:24-71:3).

Plaintiff’s Response: Undisputed.

ln addition, on April 2, 2013, Dr. Elizabeth jennison, Honeywell’s Associate Director of
l-lealth Services, wrote to Dr. Greer, asking for “addiu`onal documentation to understand the
medical necessity for [Plaintiff’s] request.” (l’ena Dep., Exhibit G;Jennison Dep., Exhibit 2).

Plaintiff’s Response: Undisputed.

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Dr. jennison’s letter requested that Dr. Greer, “please clarify how [Plaintiff’s] anxiety
symptoms could allow her to work in many areas of the plant, while interfering with her
ability to function in one area of the plant, the molding room, for which she is equally
qualified and trained?‘ Please provide documentation from your medical records that support
this opinion.”(l)ena Dep., Exhibit G; ]ennison Dep., Exhibit 2).

Plaintiff’s Response: Undisputed.

Dr. ]ennison’s question in her April 2, 2013 letter was fundamental to Honeywell assessing

her accommodation request, as several of the other areas contained many of the same
features as the molding department (Dyer Dep. 53:18-20; ]ennison Dep.30:18-24; 31:7-21;
38:3~20; 39:13»16; 42:6~10).

Plaintiff’s Response: Disputed. Plaintiff refers to her Response to No. 49 for
clarification

Dr, ]ennison recognized that placing Plaintiff in another area that was geographically
different but had the same features as the molding room could place her in a position that
would not be safe for her. Gennison Dep. 38:14-20; 39:13-16; 42:6-10; 42:17- 22).

Plaintiff’s Response: Disputed. Plaintiff refers to her Response to No. 49 for
clarification

Honeywell requested some medical documentation that provided an understanding of
Plaintiff’ s specific difficulties or limitations and_in light of the fact that the other
departments contained similar or identical features_an explanation from Dr. Greer as to
how he came to the conclusion that it was the workplace that was causing Plaintiff’ s
limitations (Dyer Dep. 53:18-20; ]ennison Dep. 30:18-24; 31:12-21; 42:6~22).

Plaintiff’s Response: Undisputed.

ln April 2013, Plaintiff submitted to Honeywell a letter from Dr. Greer dated April 2, 2013,
and an incomplete Reasonable Accommodations Request Form. (Gouveia Dep. 76:19-77:6,
Gouveia Dep., E‘xhibits 3 and 4).

Plaintiff’s Response: Undisputed that Plaintiff submitted to Honeywell a letter from
Dr. Greer dated April 2, 2013. Disputed that the Reasonable Accommodation
Request Form was incomplete Dr. Greer answered all of the questions on the form
in a letter dated April 2, 2013 that he wrote in lieu of writing responses on the form.
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The April 2, 2013 letter from Dr. Greer stated that Plaintif “carries diagnosis of Major
Depressive Disorder, Recurrent, Severe.” (Gouveia Dep., Exhibit 3).

Plaintiff’s Response: Undisputed.

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Honeywell first learned of a depression diagnosis for Plaintiff through Dr. Greer’s April 2,
2013 letter. (See Gouveia Dep., Exhibit 3).

Plaintiff’s Response: Disputed. Pena refers to her responses to Nos. 26 and 27, in
which Honeywell states that Pena had previously taken several other medical leaves
of absence under the FMLA totaling 23 weeks.

Dr. Greer’s note did not provide any detail as to how or why Plaintiff°s symptoms allowed
her to work in any department except for the molding department Gennison Dep. 37:1-
38:7;]ennison Dep., Exhibit 3).

Plaintiff’s Response: Undisputed.

The physician’s portion of the Reasonable Accommodations Request form was left
completely blank. (]ennison Dep., Exhibit 4).

Plaintiff’s Response: Undisputed.

On April 8, 2013, Mr. Gouveia sent a letter to Plaintiff recounting that Honeywell had
communicated with Plaintiff and her physician to release her medical records to its medical
department (Pena Dep., Exhibit H; Gouveia Dep. 87:8-25; Gouveia Dep., Exhibit 5).

Plaintiff’s Response: Undisputed.

Mr. Gouveia’s April 8, 2013 letter stated: “You have informed us you signed a release to give
your physician permission to send your medical records to our medical department;
however, no[] medical records have been received. As a result, and at the moment, we have
insufficient information to assess your request.” (Pena Dep., Exhibit H; Gouveia Dep.,
Exhibit 5).

Plaintiff’s Response: Undisputed.

l\/lr. Gouveia’s April 8, 2013 letter reported to Plaintiff, “[w]hile we await the medical
information required to assess your request, you have the option to return to work and
perform your regular job (including the rotations in the injection Molding Department
required of all employees in your position); or, remain on an unpaid medical leave of
absence; or, use any paid time off that is available for you, such as vacation or PTO.” (Pena
Dep., Exhibit H; Gouveia Dep., Exhibit 5).

Plaintiff’s Response: Undisputed.

Mr. Gouveia sent a follow-up letter to Plaintiff on April 22, 2013, detailing that he had sent a
previous letter, but had not received any information from her physician (Pena Dep.,
Exhibit l).

Plaintiff’s Response: Undisputed.

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ln his April 22, 2013 letter, l\/lr. Gouveia reminded Plaintiff of her option to return to work
or to continue on an unpaid leave of absence, and requested that Plaintiff please let
Honeywell know if her physician would be providing the requested information (Pena
Dep., Exhibit L; Gouveia, Exhibit 6).

Plaintiff’s Response: Undisputed.

On April 22, 2013, Plaintiff’s then-counsel, l\/is. Kot, for the first time made her presence
known to Honeywell when she called Mr. Gouveia to discuss the accommodation request
(Rolfs Aff., il 2).

Plaintiff’s Response: Undisputed.

On April 22, 2013, upon learning that l\/ls. Kot was representing Plaintiff, Honeywell’s in
house employment counsel, lacqueline Rolfs (“l\/ls. Rolfs”), sent a letter to l\/ls. Kot,
directing her to review the written correspondence sent to Plaintiff to understand
Honeywell’s request for additional information <Rolfs Aff. im 1-3).

Plaintifi”s Response: Undisputed.

On April 23, 2013, Ms. Kot responded that Plaintiff had provided two doctor’s notes and
that “[i]n response she received a letter demanding a release of all her sensitive medical
records, including mental health records, signed by l\/Ir. Gouveia This of course represents
an unnecessary and prohibited intrusion upon her privacy.” (Rolfs Aff., Exhibit B).

Plaintiff’s Response: Undisputed.

On April 25, 2013, l\/ls. Rolfs sent a letter to l\/ls. Kot attaching the correspondence between
Honeywell, Plaintiff, and Dr. Greer. (Rolfs Aff., Exhibit C).

Plaintiff’s Response: Undisputed.

l-ler April 25, 2013 letter further detailed the Honeywell’s numerous attempts to
communicate with Plaintiff about her accommodation request (ld.)

Plaintiff’s Response: Undisputed.

Ms. Rolfs’ April 25, 2013 letter also clarified:
Contrary to the assertion in your letter, Dr. jennison did not ask to see all of l\/ls.
Pena’s medical records lnstead, she asked how l\/ls. Pena’s symptoms could allow
her to work in all areas of the plant except the molding area, where she had
successfully worked on several occasions, and asked for documentation from the
medical records to support this opinion To date, Honeywell has received no
response to this letter. (ld.).

Plaintiff’s Response: Undisputed.

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Ms. Rolfs also mentioned in her April 25, 2013 letter that “Honeywell remains willing to
work with your client to assess her reasonable accommodation request l_lowever, without
the cooperation of your client and her physician in providing responses to Honeywell’s
reasonable questions about the request, we cannot proceed further in that process.” (ld.).

Plaintiff’s Response: Undisputed.

Ms. Kot responded on April 30, 2013, alleging that l-loneywell’s requests were in violation of
the ADA, stating that she would be providing another letter from Plaintiff’s doctor shortly,
and accusing Honeywell of threatening to terminate Plaintiff. (Rolfs Aff., Exhibit D).

Plaintiff’s Response: Undisputed.

Ms. Rolfs’ April 25, 2013 communication does not convey any termination message, but,
instead, states that “Honeywell remains willing to work with your client to assess her
reasonable accommodation request . . .” CRolfs Aff., Exhibit C).

Plaintiff’s Response: Undisputed.

On April 30, 2013, Ms. Rolfs sent Ms. Kot yet another letter, stating that Honeywell did not
threaten to terminate Plaintiff and that Honeywell’s reasonable inquiries about the nature of
Plaintiff s condition and the need for accommodation in no way violated the ADA. (Rolfs
Aff., Exhibit E)

Plaintiff’s Response: Undisputed.

On May 6, 2013, Ms. Kot provided a memo to l\/ls. Rolfs from Dr. Greer dated April 29,
2013, in which he stated that Plaintiff “has reported repeatedly and consistently that she
finds this new environment to be highly stressful, referencing a variety of factors which
included increased noise levels, chemical odors and the presence of robotics in the molding

room which have resulted in a significant exacerbation of her anxiety symptoms.” (Rolfs
Aff., Exhibit F; Pena Dep., Exhibit D.

Plaintiff’s Response: Undisputed.

The memo to l\/ls. Kot from Dr. Greer dated April 29, 2013 conveyed only Plaintiff’s self»
reports to Dr. Greer and did not convey any medical assessment (Rolfs Aff., Exhibit F;
Pena Dep., Exhibit ]).

Plaintiff’s Response: Disputed. The Apri129, 2013 letter clearly states that Dr. Greer
“can state with a reasonable degree of medical certainty that there is a direct causal
relationship between [Ms. Pena’s] working in that setting and the exacerbation of
her symptoms,” a medical assessment Furthermore, the attached Progress Notes
also include Dr. Greer’s continued assessments that Ms. Pena’s anxiety and
depression continued to worsen due to the “situational stress” due to the changes in
her work setting and inability to obtain an accommodation (EL C).

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The conditions listed by Dr. Greer in his April 29, 2013 memo to l\/ls. Kot exist in other
areas of the facility (Ryan Dep. 30:12~13; 37216-38:4; 39:8-11).

Plaintiff’s Response: Disputed. Plaintiff refers to her response to No. 5 for
clarification

To provide Plaintiff with the proper accommodation, l'loneywell needed to know not only
the conditions in the molding room that she found troubling, but also how these same
conditions did not bother Plaintiff in other areas of the lioneywell facility. Gennison Dep.
30:18~24; 31:7~21; 38:3-20; 39:13~16; 42:6-10; 42:17-22).

Plaintift’s Resp_onse: Disputed. Plaintiff refers to her response to No. 53 for
clarification

ln his April 29, 2013 memo to Ms. Kot, Dr. Greer did not propose any accommodation
short of a permanent removal of molding room responsibilities nom Plaintift’ s job. (Rolfs Aff.,
Exhibit F; Pena Dep., Exhibit D.

Plaintifi’s Response: Undisputed.

Along with his memo, Dr. Greer included four progress notes, which provided no details of
PlaintifF s condition, or how or why she would be unable to work in the molding
department (See Pena Dep., Exhibit ])

Plaintift’s Response: Undisputed that Dr. Greer included four progress notes.
Disputed that the four progress notes provided no details of Plaintift’s condition, or
how or why she would be unable to work in the molding department The progress
notes speak for themselves.

Ms. Rolfs responded to l\/ls. Kot on May 22, 2013, indicating that the attachments to her
most recent letter “do not provide any information as to why there is some connection
between Ms. Pena’s diagnosed depression and work in the molding room.” (Rolfs Aff.,
Exhibit G; Pena Dep., Exhibit K).

Plaintift’s Response: Undisputed.

The May 22, 2013 letter from l\/ls. Rolfs to Ms. Kot provided that Dr. Greer has not called
Honeywell’s doctor, Dr. lennison, as requested (Rolfs Aff., Exhibit G; Pena Dep,, Exhibit
K).

Plaintift’s Response: Undisputed.

According to Plaintiff, HoneyweH had set up an appointment with Dr. Greer for him to go
to Honeywell to discuss PlaintifF s alleged condition, but “he didn’t go because he didn’t
have the time.” (Pena Dep. 54:21-25).

Plaintift’s Response: Disputed that Dr. Greer did not have time to go to Honeywell
to discuss Plaintift’s alleged condition. Rather, Dr. Greer testified that he “didn’t

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have time in [his] busy practice” to visit the workplace to observe the conditions of
the Molding Room. (Greer Dep. at 60:22~25, 61:1-8). Ms. Pena’s self-reports and Dr.
Greer’s observations of her behavior were sufficient for him to form opinion with a
reasonable degree of medical certainty that there was, indeed, a direct causal
relationship between the Molding Room and the exacerbation of Pena’s symptoms.
(l_c_l_. at 65:11-25, 66:1-11).

l\/ls. Rolfs’ May 22, 2013 letter explained that the conditions that Plaintiff complained of
existed throughout other areas that Plaintiff worked without issue. (Rolfs Aff., Exhibit G;
Pena Dep., Exhibit K).

Plaintiff’s Response: Undisputed.

ln several correspondence, Honeywell requested that Dr. Greer provide an explanation or
medical records to elucidate how Plaintiff’ s alleged symptoms resulted from working in the
molding room, when the conditions of the molding room that she complained of existed in
other areas of the facility in which she worked without issue. Oennison Dep. 30:18-24; 31:7-
21; 38:3~20; 39113-16; 42:6-10; 42117-22; Rolfs Aff., Exhibit G; Pena Dep., Exhibit K).

Plaintift’s Response: Undisputed.

Honeywell received its last correspondence from Plaintifi7 s attorney on or about May 6,
2013. (Rolfs Aff., Exhibit F; Pena Dep., Exhibit J)

Plaintift’s Response: Undisputed.

By lune 17, 2013, having received no additional information and with no contact whatsoever
from Plaintiff, who had been out on a leave for over three months, Honeywell terminated
her employment for job abandonment (Pena Dep., Exhibit L; Gouveia Dep. 88:12*25:
Gouveia Dep., Exhibit 6).

Plaintiff’s Resp_onse: Undisputed.

Plaintiff applied for SSDl benefits on September 20, 2013. <Pena Dep. 76:3-6).

Plaintift’s Response: Undisputed.

On her SSDI Application, which was completed under the penalty of perjury, Plaintiff
stated, “l became unable to work because of my disabling condition on l\/larch 8, 2013.”
(Pena Dep. 76:9~21; Pena Dep., Exhibit l\/I)

Plaintiff’s Response: Undisputed.

Plaintiff further declared on her SSDI Application: “l am still disabled.” (Pena Dep. 76:22-
25; Pena Dep., Exhibit M).

Plaintiff’s Response: Undisputed.

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Based upon her statements made in her SSDl Application, an Administrative Law Judge
determined that Plaintiff had somatoform disorder and she was totally disabled as of her last
day of work, stating: “The claimant has been under a disability as defined in the Social
Security Act since March 8, 2013, the alleged onset date of disability.” (Pena Dep. 77:12~24;
Pena Dep., Exhibit N, p. 5).

Plaintift’s Response: Undisputed.

Plaintiff received SSDl benefits retroactive to March 8, 2013, her last day of work. (Pena
Dep. 77:12-24; Pena Dep., Exhibit N).

Plaintift’s Response: Undisputed.

When asked about the statements in her SSDl Application during her deposition, Plaintiff
stated: “The thing is that from that date, the dose of medication for the depression was
increased, and also l also got four more pills because of the tachycardia, and also l got
medication to help me sleep.” (Pena Dep. 76:17-21).

Plaintift’s Response: Undisputed.

Plaintiff was further asked at her deposition whether, by her statement, she meant that she
was unable to do any work, to which she replied: “Yes, at that time when l stated that, yes,
because l was under a lot of medications, and my depression increased.” (Pena Dep. 76:22-
77:4).

Plaintiff’s Response: Undisputed.

ln addition, Plaintiff filed for bankruptcy in September 2014 and in that application she
again stated that she was not employed and that she was disabled (Pena Dep. 79:3‘6).

Plaintift’s Response: Undisputed.

Plaintiff did not and has not offered any explanation as to how her sworn statement in her
SSDI Application that she was totally disabled as of her last day of work does not contradict
her allegation in this suit that she was a qualified individual with a disability (Pena Dep.
79:13-81:19).

Plaintift’s Response: Disputed. Gouveia advised me to apply for SSDI and so did
Dr. Greer. (Pena Aff.). My SSDI lawyer advised me to use March 8, 2013, my last day
of work, as the date of the onset of my disability. (Id.). When I stated on my SSDI
application that I was unable to work as of March 8, 2013, I meant that I was totally
disabled only for the purposes of receiving SSDI benefits. (Id.). The SSDI
application did not ask if I needed any accommodations of a disability in order to
work and no one at any of the hearings asked. (Id.). Had I been asked, I would have
responded, “Yes.” (Id.). Had Honeywell granted my accommodation request, I
would have gone back to work, and I would not have filed for SSDI benefits. (Id.). I
filed for SSDI benefits because I could no longer work due to my worsening

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depression caused by Honeywell firing me, and I needed a source of income to pay

my biiis. (id.).

98. Plaintiff stated in an lnterrogatory, in part: “l applied for Social Security on September 19,
2013. On October 16, 2015, l received a Fully Favorable decision and was determined to
have been disabled since March 8, 2013.” (Plaintiff’s Responses to Defendant’s First Set of
lnterrogatories, No. 15, attached hereto as Exhibit G).

Plaintiff’s Response: Undisputed.

Dated: March 29, 2017

MAYM PENA
By Her Attorneys,

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CERTIFICATE oF SERvicE

l hereby certify that on this lch day of March 2011 l caused the foregoing document to be
electronically filed with the Court’s Cl\/l/ECF system. The following counsel*of-record have been

served by electronic means.

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